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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                   Plaintiff,                              4:12CR3114
      vs.
                                                      DETENTION ORDER
WILLIAM WHITEHOUSE,

                   Defendant.

      Defendant was afforded an opportunity for a hearing, but agreed to be
detained without a hearing. Defendant has therefore failed to meet the burden of
showing, by clear and convincing evidence pursuant to 18 U.S.C. § 3143 (a) and
Fed. R. Crim. P. Rule 32.1(a)(6) that Defendant will appear at court proceedings
and will not pose a danger to the safety of any person or the community if
released. The Court’s findings are based on the allegations within the Petition.

IT IS ORDERED:

      1)    The above-named defendant shall be detained until further order.

      2)    Defendant is committed to the custody of the Attorney General for
            confinement in a corrections facility; Defendant shall be afforded
            reasonable opportunity for private consultation with counsel; and on
            order of a court of the United States, or on request of an attorney for
            the government, the person in charge of the facility shall deliver
            Defendant to a United States Marshal for appearance in connection
            with a court proceeding.


      February 9, 2018.                      BY THE COURT:
                                             s/ Cheryl R. Zwart
                                             United States Magistrate Judge
